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                                        Conference Date and Time: August 13, 2019 at 2:00pm

 Juan P. Morillo (pro hac vice)                      Scott C. Shelley
 Gabriel F. Soledad                                  Samantha Gillespie (pro hac vice)
 Daniel Pulecio-Boek                                 QUINN EMANUEL URQUHART &
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Counsel for the Plaintiffs

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                            BK Case No. 18-11094 (SCC)
                                                   (Jointly Administered) (Chapter 15)
 PERFORADORA ORO NEGRO,
 S. DE R.L. DE C.V., et al.

 Debtors in a Foreign Proceeding.

 GONZALO GIL-WHITE, PERSONALLY                     Adversary Case No. 19-01294 (SCC)
 AND IN HIS CAPACITY AS FOREIGN
 REPRESENTATIVE OF PERFORADORA
 ORO NEGRO, S. DE R.L. DE C.V. AND
 INTEGRADORA DE SERVICIOS
 PETROLEROS ORO NEGRO, S.A.P.I. DE
 C.V.
                  Plaintiff,
      -against-

 ALP ERCIL; ALTERNA CAPITAL
 PARTNERS, LLC; AMA CAPITAL



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                                        Conference Date and Time: August 13, 2019 at 2:00pm


 PARTNERS, LLC; ANDRES
 CONSTANTIN ANTONIUS-GONZÁLEZ;
 ASIA RESEARCH AND CAPITAL
 MANAGEMENT LTD.; CQS (UK) LLP;
 FINTECH ADVISORY, INC.; DEUTSCHE
 BANK MÉXICO, S.A.; INSTITUCIÓN DE
 BANCA MÚLTIPLE; GARCÍA
 GONZÁLEZ Y BARRADAS ABOGADOS,
 S.C.; GHL INVESTMENTS (EUROPE)
 LTD.; JOHN FREDRIKSEN; KRISTAN
 BODDEN; MARITIME FINANCE
 COMPANY LTD.; NOEL BLAIR HUNTER
 COCHRANE, JR; ORO NEGRO PRIMUS
 PTE., LTD.; ORO NEGRO LAURUS PTE.,
 LTD.; ORO NEGRO FORTIUS PTE., LTD.;
 ORO NEGRO DECUS PTE., LTD.; ORO
 NEGRO IMPETUS PTE., LTD.; PAUL
 MATISON LEAND, JR.; ROGER ALAN
 BARTLETT; ROGER ARNOLD
 HANCOCK; SEADRILL LIMITED; SHIP
 FINANCE INTERNATIONAL LTD.; and
 DOES 1-100
                   Defendants.

                            NOTICE OF PRE-TRIAL CONFERENCE


          PLEASE TAKE NOTICE that a pre-trial conference (the “Conference”) on the

proceeding commenced by the Complaint filed in the above-captioned matter will be held on

August 13, 2019, at 2:00 p.m. (prevailing Eastern Time) before the Honorable Shelley C.

Chapman, United States Bankruptcy Judge, at the United States Bankruptcy Court for the Southern

District of New York, Courtroom 623, One Bowling Green, New York, New York 10004.




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                                        Conference Date and Time: August 13, 2019 at 2:00pm

 Dated: August 2, 2019                             QUINN EMANUEL URQUHART &
        New York, New York                         SULLIVAN, LLP

                                                     /s/ Gabriel F. Soledad             .
                                                   Gabriel F. Soledad
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                                                   Counsel for the Plaintiffs




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                                         Conference Date and Time: August 13, 2019 at 2:00pm


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 2, 2019, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to all

“Accepting Defendants” as defined in Dkt. #81 and Notice was Provided via FedEx and email

service to the following entities/parties:

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John Fredriksen
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                                                                        /s/Sara Clark
                                                                        Sara Clark



          1
          The Accepting Defendants are Alp Ercil; Alterna Capital Partners, LLC; AMA Capital Partners,
LLC; Asia Research and Capital Management Ltd.; CQS (UK) LLP; Fintech Advisory, Inc.; GHL
Investments (Europe) Ltd.; Kristan Bodden; Maritime Finance Company Ltd.; Noel Blair Hunter Cochrane,
Jr; Oro Negro Primus Pte., Ltd.; Oro Negro Laurus Pte., Ltd.; Oro Negro Fortius Pte., Ltd.; Oro Negro
Decus Pte., Ltd.; Oro Negro Impetus Pte., Ltd.; Paul Matison Leand, Jr.; Roger Alan Bartlett; Roger Arnold
Hancock; Seadrill Limited; and Ship Finance International Ltd.


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